Case 0:22-cr-60198-RS Document 1 Entered on FLSD Docket 09/09/2022 Page 1 of 5




                                              UM T/D STATESDISTRICTCOURT
                                              SOUTHERN DISTM CT OF FLORIDA

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    VS.                                                                                                 j.                 Sep 9, 2022              t
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Case 0:22-cr-60198-RS Document 1 Entered on FLSD Docket 09/09/2022 Page 2 of 5



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                                              V.                                                                             ''                                                                                                                                            ..
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                                              ALEM SBANNERMAN,                                                                                                                      .$
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Case 0:22-cr-60198-RS Document 1 Entered on FLSD Docket 09/09/2022 Page 4 of 5




                                          IJM TED STATESDISTW CT COUFT
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                        . SBANNERM AN
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 Case 0:22-cr-60198-RS Document 1 Entered on FLSD Docket 09/09/2022 Page 5 of 5




AO45à(Rev.01/09)WaiverofanIndiccent                   %          .

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                                          Sottthem Distrid Ojuoyjtu
              United StatesofAmerica                 ')
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                                                            Hon.Pdtrick M.Hunt UnitedStates MacistrateJudqe
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